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Attorney for Creditor

                        UNITED STATES BANKRUPTCY COURT
                           WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION

IN RE:                                        §
                                              § CASE NO. 14-51038
Graciela M. Salinas a/k/a Graciela Marie      § CHAPTER 13
Salinas                                       §
Debtor,                                       §
RESPONSE TO DEBTOR’S MOTION TO DEEM THE DEBTOR CURRENT WIT HER
          MORTGAGE PAYMENTS OWED TO BSI FINANCIAL SERVICES
                          (Objection to Proof of Claim Doc# 47)

       COMES NOW, U.S. BANK TRUST NATIONAL ASSOCIATION, AS TRUSTEE OF

THE IGLOO SERIES III TRUST (“Creditor”) and files its response to Debtor’s Motion to Deem

Debtor Current (“Debtor’s Motion to Determine”) and in support thereof states as follows:

              1.     Creditor admits to the allegations in Paragraphs 1 and 2 of Debtor’s

       Motion to Determine.

              2.     As Paragraph 3 of Debtor’s Motion to Determine, the allegations

       contained therein constitute legal argument which does not require a response, however,

       to the extent response is necessary, Creditor denies same. In addition, Creditor

       affirmatively asserts that Creditor has been in contract with Debtor by and through her

       attorney and it appears that Debtor has made additional payments since the filing of

       Creditor’s response, and it appears that Debtor is currently due for her payment for



RESPONSE TO DEBTOR’S MOTION TO DETERMINE                                              PAGE 1
    August 2018 and September 2018 and is in contact with Debtor’s attorney as to proof of

    payment.

           3.      The allegations in Paragraph 4 of the Debtor’s Motion to Determine

    constitute legal argument which do not require a response; however, to the extent an

    response is necessary, Creditor denies same.

           WHEREFORE, Creditor prays that Debtor’s Motion to Determine be denied

    consistent with the response set forth above and for such other relief the court deems just

    and proper.

                                                   Respectfully submitted,

                                                   ANDERSON VELA, L.L.P.
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                                                   ATTORNEYS FOR MOVANT

                                                   By: /s/ Richard Anderson
                                                      RICHARD E. ANDERSON
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RESPONSE TO DEBTOR’S MOTION TO DETERMINE                                              PAGE 2
                                 CERTIFICATE OF SERVICE
       I hereby certify that a copy of the foregoing Response to Motion to Determine was served
on the 4th day of September 2018. Said Response was filed electronically. Service was
accomplished by the method and to the following as indicated.


                                                   By: /s/ Richard Anderson
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BY ELECTRONIC NOTICE OR REGULAR FIRST CLASS MAIL, POSTAGE PREPAID:

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RESPONSE TO DEBTOR’S MOTION TO DETERMINE                                              PAGE 3
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                                           /s/ Richard E. Anderson
                                           RICHARD E. ANDERSON


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